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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA

                             Alexandria Division




 WALTON CAMPBELL,

      Plaintiff,



 V.                                     Civil Action No. 1:17-CV-00568



 MARK ESPER,
 Secretary of the Army

       Defendant.



                             Memorandum Opinion


       THIS MATTER comes before the Court on Defendant's Motion

 for Summary Judgment.

       This suit arises out of the 852-day unpaid suspension that

 Plaintiff Walton Campbell, 57 years-old at the time of the
 suspension, was placed on by his employer, the Army Corps of
 Engineer's       Engineer   Research      and   Development   Center   (the
 "ERDC"). Beginning in 2004, Plaintiff was employed by the ERDC
 as a physical scientist at the ERDC's Topographic Engineering
 Center (the "TEC") laboratory in Alexandria, Virginia. Because
 the TEC laboratory is designated as a restricted area, and
 because    the     TEC   works   almost     exclusively   with   classified
 information. Plaintiff was required to maintain a Top Secret
 clearance and access to Sensitive Compartmented Information.
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